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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                    IN THE UNITED STATED BANKRUPTCY COURT                               December 05, 2023
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                                HOUSTON DIVISION

IN RE:                                          §
                                                §       CASE NO: 23-32106
2518 CLEBURNE HOUSING LLC,                      §
                                                §
         Debtor.                                §
                                                §
                                                §       CHAPTER 11

                                         ORDER
                                   POST CONFIRMATION

       2518 Cleburne Housing, LLC (“Debtor”)’s Plan having been confirmed pursuant to 11
U.S.C. § 1191(a) on December 5, 2023, it is hereby:

   ORDERED that:

1. No later than fourteen (14) days from the effective date of the confirmed plan:

       a. all professionals, including the Subchapter V Trustee, must file all final fee
          applications, pursuant to Fed. R. Bankr. P. 2016; and
       b. Debtor must file a motion for final decree, pursuant to Fed. R. Bankr. P. 3022 and 11
          U.S.C. § 1106(a)(7).

2. Pursuant to 11 U.S.C. § 1183(c)(2), not later than 14 days after Debtor’s plan is substantially
   consummated, Debtor must file with the court and serve on Thomas A. Howley (the
   “Subchapter V Trustee”), the United States Trustee, and all parties in interest notice of such
   substantial consummation and file such notice with the Clerk of Court.

3. Upon substantial consummation of the Plan, the duties of the Subchapter V Trustee in the
   Debtor’s bankruptcy case shall terminate as provided under 11 U.S.C. § 1183(c)(1).
   Nevertheless, the Subchapter V Trustee is not discharged pursuant 11 U.S.C. § 350(a) until
   such time as the Court enters its final decree and closes the case.

4. The Subchapter V Trustee must on or before February 5, 2024, file with the Clerk of Court a
   Report of No Distribution (NDR) or Final Report (TFR).

5. Debtor must request a hearing date on all final motions including the motion for final decree.
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SIGNED December 5, 2023



                                    ________________________________
                                            Eduardo V. Rodriguez
                                     Chief United States Bankruptcy Judge
